          Case 1:21-cr-00268-CJN Document 157 Filed 03/24/23 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                    :
                                              :
        v.                                    :      Criminal No. 21-cr-268-CJN
                                              :
 JEFFREY MCKELLOP,                            :
                                              :
                                              :
                       Defendant.             :

                                      NOTICE OF FILING

        COMES NOW the United States of America, by and through its attorneys, the United

 States Attorney for the District of Columbia and undersigned counsel, and respectfully submits its

 proposed Order pursuant to 18 U.S.C. § 4247. Defense counsel has indicated they consent to the

 proposed order.

                                                     Respectfully submitted,

                                                     MATTHEW GRAVES
                                                     UNITED STATES ATTORNEY


By:    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                                    /s/ Ashley Akers
                                                    ASHLEY AKERS
                                                    MO Bar No. 69609
                                                    Trial Attorney, Detailee
                                                    601 D Street NW
                                                    Washington, DC 20001
                                                    (202) 353-0521
                                                    Ashley.Akers@usdoj.gov

                                                    /s/ Brendan Ballou
                                                    DC Bar No. 241592
                                                    Special Counsel, detailed to the
                                                    United States Attorney’s Office
                                                    601 D Street NW
                                                    Washington, DC 20001
                                                    (202) 431-8493
                                                    Brendan.Ballou-Kelley@usdoj.gov
Case 1:21-cr-00268-CJN Document 157 Filed 03/24/23 Page 2 of 4



                                /s/ Shalin Nohria
                                United States Attorney's Office
                                601 D Street NW
                                Suite Office 6.713
                                Washington, DC 20001
                                (202) 344-5763
                                Shalin.Nohria@usdoj.gov
         Case 1:21-cr-00268-CJN Document 157 Filed 03/24/23 Page 3 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     :
                                              :
       v.                                     :       Criminal No. 21-cr-268 (CJN)
                                              :
JEFFREY MCKELLOP,                             :
                                              :
                                              :
                       Defendant.             :

                                             ORDER

       Having found reasonable cause to believe that a competency examination of defendant

Jeffrey McKellop is warranted, the Court hereby ORDERS that a psychological examination be

conducted. See 18 U.S.C. § 4241.

       Accordingly, it is hereby ORDERED that the defendant be committed to the custody of

the Attorney General of the United States pursuant to 18 U.S.C. §§ 4247(b), (d) for a period not to

exceed one hundred twenty (120) days starting from the date of arrival in a suitable facility for a

competency examination and – if the defendant is deemed to be incompetent – to determine

whether there is a substantial probability that in the foreseeable future he will attain the capacity

to permit the proceedings to go forward. The examination shall be conducted by a licensed or

certified psychiatrist and/or psychologist, or more than one such examiner. A report shall be

prepared by the examiner and shall be filed under seal with the Court with copies provided to

counsel for the defendant and to the attorney for the Government. The report shall include:

       (1)     The defendant’s history and any present mental-health systems relevant to his legal
               competency.

       (2)     A description of the psychiatric, psychological, and medical tests that were
               employed and their results;

       (3)     The examiner’s findings;
          Case 1:21-cr-00268-CJN Document 157 Filed 03/24/23 Page 4 of 4



         (4)    The examiner’s opinions as to diagnosis and prognosis;

         (5)    Whether the defendant is “presently suffering from a mental disease or defect
                rendering him mentally incompetent to the extent that he is unable to understand
                the nature and consequences of the proceedings against him or to assist properly in
                his defense.” 18 U.S.C. § 4241(a); and

         (6)    “[W]hether there is a substantial probability than in the foreseeable future he will
                attain the capacity to permit the proceedings to go forward.” 18 U.S.C. § 4241(d)(1).

         It is further ORDERED that the United States Marshal shall transport the defendant to a

designated facility for the examination(s).

         It is further ORDERED that the time from March 2, 2023, to ______________, 2023, will

be excluded from the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7) as the exclusion would

serve the ends of justice and outweigh the interest of the public and of Mr. McKellop in a speedy

trial.

         It is further ORDERED that, pursuant to 18 U.S.C. § 3161(h)(1)(A), any period of delay

resulting from the fact that the defendant is mentally incompetent or physically unable to stand

trial will be excluded from the Speedy Trial Act. The Court requests that the United States

Marshals Service makes every effort to transfer the defendant promptly and directly to and from

the suitable facility, without intermediate stops or holdovers.

         It is further ORDERED that thirty (30) days from the start of this Order and every thirty

(30) days thereafter, the Government shall provide a status report addressing: (a) the status of the

defendant’s placement at a suitable facility for evaluation; and (b) his transportation to and from

that facility by the United States Marshals Service.

         It is SO ORDERED.



Date: March               , 2023
                                                              HON. CARL NICHOLS
                                                              United States District Judge
